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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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 10     ARNET IVINING MAYS, JR.,                     Case No. 2:21-cv-6195-CAS (MAR)
 11                                Petitioner,
 12                  v.                              ORDER ACCEPTING FINDINGS
        ALEX VILLANUEVA,                             AND RECOMMENDATION OF
 13                                                  UNITED STATES MAGISTRATE
                                   Respondent(s).    JUDGE
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             Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for a Writ of
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       Habeas Corpus, the records on file, and the Report and Recommendation of the
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       United States Magistrate Judge. No objections have been filed. The Court accepts
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       the findings and recommendation of the Magistrate Judge.
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             IT IS THEREFORE ORDERED that Judgment be entered dismissing this
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       action without prejudice.
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 24    Dated: November 24, 2021

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                                                 HONORABLE CHRISTINA A. SNYDER
 26                                              United States District Judge
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